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                           UNITED STATES DISTRICT COURT
                           SO U TH ER N DISTRIC T O F FLO RID A

                              No. /4-g+f>                     v.w y,s
 UN IT ED STA TES O F A M ER IC A

 VS.

 NATHANIEL ERSKINE RO LLE,
 M A RIO W ILC H C O M BE
 ALTEMEHIBERDIEUV AUPLANT,AND
 K EN O W AD E R U SSELL,

            D efendants.
                                           /

                                C R IM IN AL C O V ER SH EET


       D id thism atteroriginate from a m atterpending in theN orthem Region oftheU nited States
       A ttorney's Office priorto O ctober 14,20037                  Y es     X     No

 2.    D id this m atteroriginate from a m atterpending in the CentralRegion ofthe U nited States
       A ttorney's Office priorto Septem ber 1,2007?                 Y es     X      No


                                            Respectfully subm itted,

                                            W IFRED O A .FER RER
                                            UN ITED STATES A TTO RN EY


                                    Bv:                  VJ
                                             urtK .L nke eim er
                                            A SSIST N T      ITED STA TES A TTORN EY
                                            CourtID N o.A 5501535
                                            99 N .E.4th Street
                                            M iam i,Florida 33132-21l1
                                            TEL (305)961-9008
                                            FAX (305)530-7976
                                            Kul'
                                               t.laurlkerleimer@ usdoj.gov
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AO 91(Rev.11/1l) CriminalComplaint

                                 U NITED STATES D ISTRICT C OURT
                                                       forthe
                                            Southern DistrictofFlorida

               United StatesofAmerica                    )
                            V.                           '
          NATHANIEL ERSKINE ROLLE,
             MARIO W ILCHCOMBE,
                                                         ) casexojy-
                                                                   gsjy-x                                  wgws
      ALTEME HIBERDIEU BEAUPLANT,AND                     )
            KENO W ADE RUSSELL,                          )
                                                         )

                                        CR IM IN A L C O M PLA IN T
        1,thecomplainantin thiscase,statethatthe following istruetothebestofmy knowledgeand belief.
Onoraboutthedatets)of                May4,2014               inthecountyof                Miami-Dade        inthe
   Southern    Districtof            Florida         ,thedefendantts)violated:
         CodeSection                                          OffenseDescription
Title46,UnitedStatesCode,               Di
                                         dknowinglyandwilfull
                                                            yconspiretopossesswiththeintenttodistributea
Section70506(b)                       controlledsubstance,whlleonboardavesselsubjecttothejurisdictionofthe
                                      UnitedStates,invi   olationof46U.S.C.70503(a)(1);aI  Iinviolationof46
                                      U.S.C.705O6(b).Pursuantto46U.S.C.70506(a),and21U.S.C.960(b)(1)
                                      (B)(ii),itisfurtherallegedthatthisviolationinvolvedfivekilogramsormoreof
                                      a m ixture and substance containing a detectable am ountofcocaine.


        Thiscriminalcomplaintisbased on these facts:
See attached Affidavi
                    t.




        O Continued on theattached sheet.


                                                                               Complainant'
                                                                                          ssignature

                                                                     SalvadorX.Aceves,SpecialAgent,DEA
                                                                                   Printednameand title

Swornto before meand signed inmy presence.

Date:          05/09/2014                                                  tY ..
                                                                                               zt-
                                                                                                 >-
                                                                                    Judge ssignatur

City and state:                                                            Hon.Ali
                                                                                 cia M .Otazo-Reyes
                                                                                   Printed nameand title
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                                            AFFIDA V IT

  1,SalvadorA ceves,being duly sworn,hereby depose and state the follow ing:


         Iam aSpecialAgentwiththeDrugEnforcementAdministration(hereinafterDEA),and
  have been so enAployed since s4arch 2005. I nm presently assigned to the D EA ,M iam iField

  Division (M FD),where 1am responsible for conducting narcotics smuggling investigations
  involving the use of m arine vessels. As a Special Agentwith DEA,l have participated in

  nllm erous narcotics investigations, both intem ational and dom estic, involving physical and

  electronicsurveillanceand the controland adm inistration ofcontidentialsources.

  2.     The information contained in this affidavit is subm itted for the sole purpose of

  establishing probable cause to arrest N athaniel Erskine R OLLE, M ario W ILCH CO M BE,

  A ltem e H iberdieu BEA U PLAN T,and K eno W ade RU SSELL for violations of Title 46,United

  States Code,Sections 70503(a)(1) and 70506(b),that is, having knowingly and willfully
  conspired to possesswith intentto distribute five kilogramsormore ofcocaine,while on board

  avesselsubjecttothejtzrisdiction oftheUnitedStates.
  3.     Becausethisaffidavitisbeing subm itted forthe lim ited pum ose ofestablishingprobable

  cause,itdoesnotcontain allthe information known to m e and other1aw enforcementofficers

  involved in thisinvestigation.Thefactsand inform ation contained inthisaffidavitarebased on

  m y personalknow ledge and observations,as w ell as upon infonnation received in m y offcial

  capacity from other individuals, including other law enforcem ent officers involved in this

  investigation as w ell of m y review of records, docum ents, and other physical item s obtained

  during the course ofthis investigation.

         O n M ay 3,2014,atapproxim ately 11:22 p.m .,localtim e,w hile on routine patrolin the

  Caribbean Sea,the United States Coast Guard Cutter CIUSCGC'') CHARLES SEXTON
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  detected a go-fast vessel, in intem ational waters and upon the high seas, which upon

  observation oftheUSCGC CHARLES SEXTON,increased speed and beganjettisoning bales
  into the w ater. A high speed pursuitensued as the go-fastattem pted to evade 1aw enforcem ent.

  The go-fast vessel was interdicted a short time later. The go-fast vessel was interdicted

  approximatelytwenty-five (25)nauticalmilesfrom Haiti,in internationalwatersand uponthe
  high seas.

  5.     TheM asterofthevessel,ROLLE,claimed BahamianN ationality,thevesselregistration

  numberon the bow ofthe vesselisNP 011436. Priorto the boarding,atapproxim ately 2:06

  a.m .,on M ay 4,2014,the Ship Boarding Provision ofthe Bahnm ian Comprehensive M aritim e

  Agreementhad been authorized by theRoyalBahamian DefenseForceIlkBDFI. TheUSCG
  boarding team then conducted a boarding of the go-fast vessel. On board were five

  crem uembers,lateridentified asROLLE,the M asterofthe vessel,a Bahnm ian National,Pepe

  Anri,ajuvenile Haitian National,W ILCHCOM BE,a Bahnmian National,BEAUPLANT,a
  Haitian N ational,and RU SSELL,a Baham ian N ational.

  6.    During the boarding of the go-fastvessel,crew m embers of the USCGC CHARLES

  SEXTON searched the debristield ofobjectsjettisoned by the go-fastvesselduring thehigh
  speed pursuit. The U SCG C CH AR LES SEX TON recovered 42 balesfrom the w atercontaining

  approximately 379 bricksofsuspected marijuana,weighing approximately 861kilograms,and
  two duffelbags containing approxim ately 35 kilogram s ofsuspected cocaine from the debris

  field of objects jettisoned from the go-fast vessel. ln addition, the USCGC CHARLES
  SEXTON recovered aglobalpositioning(1$GPS'')devicefoundfloatingamongthedebris.The
  substance in the bales tested positive for the presence of tetrahydrocannabinol(&THC'')an
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  indicatorofmarijuana,and thesubstance in the duffelbagstestedpositiveforthepresenceof
  cocaine.

         United States 1aw enforcem ent officers also requested from the Bahnm ian M inistry of

  ForeignAffairswhetherornotthey consentedorwaived objection totheenforcementofUnited
  States law by the United States. On M ay 7,2014,the Bahnm ian M inistry ofForeign Affairs

  infonued United States law enforcementofticersthatthe Bahnmas waived objection to the
  enforcem entofUnited Stateslaw by theUnited Statesconcerning the go-fastvesselinterdicted

  by the USCGC CHARI,ES SEXTON . As such,plzrsuant to Title 46,United States Code,

  Section 70502(c)(1)(C),the go-fastvesselbecame a vesselsubjectto thejurisdiction ofthe
  U nited States.

  S.     On M ay 5, 2014,the USCGC CHARLES SEXTON transferred custody of ROLLE,

  AN RI, W ILCHCO M BE, BEA U PLAN T, and RU SSELL to the U SCG C PAU L CLA RK en

  route to M iami,Florida. On M ay 9,2014,the U SCGC PAUL CLARK transferred custody of

  ROLLE, ZA         , W ILCHCOM BE, BEAUPLANT, and RU SSELL, to United States law

  enforcementofficers,who,thatsameday,escortedth+
                                                ema
                                                  -sterandthethree(3)crewmembersto
  M iami-Dade County,Florida,where ROLLE,e             ,W ILCHCOM BE, BEAUPLANT,and

  RUSSELL firstentered the United States.
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  9.    Based on the foregoing facts,1submitthatprobable cause existsto believethatROLLE,

  W ILCHCOMBE,BEAUPLANT,andRUSSELL,whileonboard avesselsubjed tojurisdiction
  ofthe United States,did know ingly and willfully conspireto possesswith theintenttodistribute

  a controlled substance,thatisfivekilogramsormore ofcocaine,in violation ofTitle 46, United

  StatesCode,Sections70503(a)(1)and70506(b).


  FU RTHER AFFIA N T SA Y ETH N AU GH T




                                                  D OR X .A CEV ES
                                            SPECIAL AGENT
                                            D RUG EN FOR CEM EN T AD M INISTR ATION


 Sworn and subscribed beforem ethis
 9thday ofM ay, 2014 atM iam i,Florida
                   -
           <
                         yz           ,
 HON .A LICIA M .O TA ZO- YES
 U NITED STA TES M A GISTM TE JUD G E
 SOUTHERN DISTRICT OF FLORIDA
